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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                Case No. 19-23084-CIV-WILLIAMS

  OMAR SANTOS, et al.,

             Plaintiffs,

  vs.

  HEALTHCARE REVENUE
  RECOVERY GROUP, LLC, et al.,

             Defendants.
                            ________ /

                                AMENDED SCHEDULING ORDER

             THIS MATTER is set for trial during the Court’s two-week trial calendar beginning

  on August 16, 2021 before the Honorable Kathleen M. Williams at 400 North Miami

  Avenue, Courtroom 11-3, Miami, Florida. Calendar call will be held at 11:00 a.m. on

  August 10, 2021. A request for a pre-trial conference must be filed at least 30 days prior

  to the calendar call. Additionally, counsel are advised that all filings must comply fully

  with the Federal Rules of Civil Procedure, the Local Rules for the Southern District of

  Florida, and this Court's Practices and Procedures, which can be found at:

  http://www.flsd.uscourts.gov/?page_id=13071.

        I.       Schedule. The Parties shall adhere to the following schedule:

             December 7, 2020           The Plaintiff shall disclose experts, expert witness

                                        summaries and reports.



             January 4, 2021            The Defendant shall disclose experts, expert witness

                                        summaries and reports.
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        February 8, 2021       The Parties shall exchange rebuttal expert witness

                               summaries and reports.



        April 5, 2021          The Parties shall complete all discovery, including

                               expert discovery.



        March 1, 2021          The Parties shall complete mediation and file a

                               mediation report with the Court.



        April 5, 2021          The Parties shall file all dispositive pre-trial motions

                               and memoranda of law. The Parties shall also file any

                               motions to strike or exclude expert testimony, whether

                               based on Federal Rule of Evidence 702 and Daubert

                               v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579

                               (1993), or any another basis.



        June 14, 2021          The Parties shall each file one motion in limine in

                               accordance with Section IV below. All motions in limine

                               must be filed at least six weeks before calendar call.



        July 5, 2021           The Parties shall file a joint pre-trial stipulation, exhibit

                               lists, and witness lists in accordance with Local Rule

                               16.1(d) and (e) and Section V below. The Parties shall
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                                      also file proposed jury instructions or conclusions of

                                      law (for non-jury trials) in accordance with Section VI

                                      below.



           July 12, 2021              The Parties shall file their deposition designations in

                                      accordance with Section VII below.


     II.      Motions. Strict compliance with the Local Rules is expected with regard to

              motion practice. See Local Rule 7.1. For example, when filing non-dispositive

              motions, the moving Party SHALL submit a proposed order in Word format via

              email to chambers at Williams@flsd.uscourts.gov.          Local Rule 7.1(a)(2).

              Counsel for the moving party MUST also confer, or make a reasonable effort

              to confer, before filing certain motions, as required by Local Rule 7.1(a)(3).

                 All motions and attachments to motions are required to be filed in a text

              searchable format pursuant to CM/ECF Administrative Procedure 3G(5).

                 Strict compliance with the Local Rules is also expected with regard to

              motions for summary judgment. See Local Rule 56.1. For example, the

              moving Party must contemporaneously file a statement of undisputed material

              facts, delineating by number each material fact, supported with specific

              citations to the record (Docket Entry, Exhibit, Page Number(s)).             The

              opposing Party must file contemporaneously with its opposition a response to

              the statement of material facts, which shall respond by corresponding number

              to each of the moving Party’s statement of material facts. Local Rule 56.1(a).

              The opposing Party shall state, based on citations to the record, whether each
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            fact is disputed or undisputed. If the fact is disputed, the opposing Party shall

            state why the dispute is a material one. “All material facts set forth in the

            movant’s statement . . . will be deemed admitted unless controverted by the

            opposing party’s statement, provided that the Court finds that the movant’s

            statement is supported by evidence in the record.” Local Rule 56.1(b). These

            procedures shall also apply to the moving Party when responding to any

            additional facts set forth in the opposing Party’s statement of material facts.

               The Parties may stipulate to extend the time to answer interrogatories,

            produce documents and answer requests for admission. The Parties shall not

            file with the Court notices or motions memorializing any such stipulation unless

            the stipulation interferes with the time set for completing discovery, for hearing

            a motion, or for trial. Such stipulations may be made only with the Court’s

            approval. See Fed. R. Civ. P. 29. In addition to the documents enumerated in

            Local Rule 26.1(b), the Parties shall not file notices of deposition with the Court.

               Any Party seeking to make a filing under seal shall comply with Local Rule

            5.4. The Parties cannot override the requirements of that Rule through a joint

            protective order.

               Any party seeking to change any of the above deadlines must file a Motion

            to Continue or Motion for Extension of Time. Notices of unavailability will

            not be construed as motions to continue or otherwise operate to change

            the Court’s schedule in any way.

     III.   Motions in Limine. The Parties may each submit only one (1) motion in limine

            that identifies up to ten (10) evidentiary issues they seek to raise to the Court.
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           The motion may not exceed twenty (20) pages in length. Each evidentiary

           issue must be numbered, and must specifically identify the evidence sought to

           be excluded or included at trial, with citations to legal authority supporting the

           evidentiary ruling requested. The opposing party's responses in opposition to

           the motions in limine shall correspond with the order and with the numbering

           scheme used by the movant. Any reply from the movant must also correspond

           with the order and numbering used in the movant’s initial motion.

              Prior to filing a motion in limine, the Parties MUST meet and confer

           regarding each evidentiary issue they intend to raise, and certify that they met

           and conferred in accordance with Local Rule 7.1(a)(3). The Parties may only

           present those evidentiary issues that remain contested in their respective

           motions in limine.

     IV.   Pre-Trial Stipulation, Exhibit Lists, and Witness Lists. The Parties’ joint pre-trial

           stipulation, exhibit lists, and witness lists must be submitted in accordance with

           Local Rule 16.1(d) and (e). The Parties must submit their witness lists in the

           format provided in Attachment A, and their exhibit lists in the format provided

           in Attachment B. The witness lists shall include only those witnesses the

           Parties actually intend to call at trial. In the description for each witness, the

           Party shall include a brief synopsis of the witness’s testimony, the exhibits that

           the Party intends to introduce through the witness, and, in consultation with

           opposing counsel, the estimated time needed for direct and cross examination.

           The exhibit lists shall identify each witness that will introduce each exhibit.
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     V.    Jury Instructions or Conclusions of Law (for Non-Jury Trials). Joint proposed

           jury instructions or conclusions of law (for non-jury trials) shall outline: 1) the

           legal elements of Plaintiff’s claims, including damages; and 2) the legal

           elements of the defenses that are raised. The Parties shall submit proposed

           jury instructions jointly, though they need not agree on each and every

           instruction. If the Parties do not agree on a proposed instruction, the language

           proposed by plaintiff shall be underlined and the language proposed by

           defendant shall be italicized. Every instruction must be supported by a citation

           of authority. The Parties shall use the Eleventh Circuit Pattern Jury Instruction

           for Civil Cases, including the directions to counsel. If a deviation from the

           Pattern is requested, the parties shall specifically provide a citation of authority

           supporting the deviation. The Parties shall submit their proposed instructions

           via email in Word format to chambers at Williams@flsd.uscourts.gov.

     VI.   Deposition Designations.      For each unavailable witness, the Parties shall

           confer and submit a joint deposition designation.         The party offering the

           testimony shall select a color and highlight the pages and lines which they wish

           to introduce. The non-introducing party shall then underline in red the portions

           of the designated testimony objected to and in the margins indicate the basis

           for the objection (i.e., irrelevant, hearsay, etc.). The non-introducing party shall

           also select a color and submit to the Court those additional pages and lines

           that they deem counter designated.          In turn, the introducing party shall

           underline in red the portions of the counter-designated testimony objected to

           and indicate in the margins the basis for their objection.
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     VII.   Settlement. If the case settles in whole or in part, counsel must inform the

            Court immediately by emailing chambers at Williams@flsd.uscourts.gov and

            promptly thereafter filing a joint stipulation of dismissal.

        DONE AND ORDERED in chambers in Miami, Florida, this 30th day of April, 2020.
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                                               ATTACHMENT A

                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                Case No. XX-XXXXX-CIV-WILLIAMS

  PARTY NAME,

          Plaintiff(s),

  vs.

  PARTY NAME,

       Defendant(s).
  ___________________/

                                         [PARTY’S] WITNESS LIST

PRESIDING JUDGE:                                           PLAINTIFF’S       DEFENDANT’S
                                                           ATTORNEY          ATTORNEY
Hon. Kathleen M. Williams

TRIAL DATE(S):                                             COURT REPORTER    COURTROOM DEPUTY


PL      DEF   LIVE or BY    DIREC     CROS       ADDRESS       DESCRIPTION OF WITNESS      EXHIBIT(
F.      .     DEPOSITI         T        S                                                  S)
NO      NO.      ON          (est.)   (est.)
.
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                                         ATTACHMENT B

                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                               Case No. XX-XXXXX-CIV-WILLIAMS

  PARTY NAME,

          Plaintiff(s),

  vs.

  PARTY NAME,

       Defendant(s).
  ___________________/
                                     [PARTY’S] EXHIBIT LIST

PRESIDING JUDGE:                                              PLAINTIFF’S      DEFENDANT’S
                                                              ATTORNEY         ATTORNEY
Hon. Kathleen M. Williams

TRIAL DATE(S):                                                COURT            COURTROOM
                                                              REPORTER         DEPUTY


PLF.    DEF.    DATE        OBJECTIONS   MARKED   ADMITTED    DESCRIPTION OF EXHIBITS   WITNESS
NO.     NO.    OFFERED
